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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

SHANNON BRIAN SANDERS,
                                                           CIVIL CASE NO. 05-40008
                                       Petitioner,         CRIMINAL CASE NO. 90-50024-05
v.
                                                           HONORABLE PAUL V. GADOLA
UNITED STATES OF AMERICA,                                  U.S. DISTRICT JUDGE

                                      Respondent.

______________________________________/


               ORDER ACCEPTING REPORT AND RECOMMENDATION

        Before the Court is Petitioner’s motion to vacate, set aside, or correct his sentence pursuant

to 28 U.S.C. § 2255 and the Report and Recommendation of the Honorable Virginia M. Morgan,

United States Magistrate Judge. The Magistrate Judge recommends that this Court deny Petitioner’s

motion. The Magistrate Judge filed the Report and Recommendation on September 20, 2005 and

notified all the parties that any objections must be filed within ten days of service. Neither party

has filed objections to the report and recommendation.

        The Court’s standard of review for a Magistrate Judge’s report and recommendation depends

upon whether a party files objections. If a party does not object to the report and recommendation,

the Court does not need to conduct a review by any standard. See Lardie v. Birkett, 221 F. Supp.

2d 806, 807 (E.D. Mich. 2002) (Gadola, J.). As the Supreme Court observed, “[i]t does not appear

that Congress intended to require district court review of a magistrate’s factual or legal conclusions,

under a de novo or any other standard, when neither party objects to those findings.” Thomas v.

Arn, 474 U.S. 140, 150 (1985). Since neither party has filed objections to the report and
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recommendation, the Court need not conduct a review.

       ACCORDINGLY, IT IS HEREBY ORDERED that the report and recommendation

[docket entry 1224] is ACCEPTED and ADOPTED as the opinion of this Court.

       IT IS FURTHER ORDERED that Petitioner’s motion to vacate [docket entry 1210] is

DENIED.

       SO ORDERED.


Dated: October 27, 2005                                    s/Paul V. Gadola
                                                           HONORABLE PAUL V. GADOLA
                                                           UNITED STATES DISTRICT JUDGE




                                           Certificate of Service

       I hereby certify that on October 27, 2005 , I electronically filed the foregoing paper with
       the Clerk of the Court using the ECF system which will send notification of such filing to the
       following:
                               Mark C. Jones                                             , and I hereby
       certify that I have mailed by United States Postal Service the paper to the following non-ECF
       participants:               Shannon Brian Sanders                               .



                                                           s/Ruth A. Brissaud
                                                           Ruth A. Brissaud, Case Manager
                                                           (810) 341-7845




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